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PagelD.259
OC LIA
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF | DEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION

pocket No. MDE 840

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PROCEEDINGS

DATE NR
1999
Mar 15) 841 PROOF of Clainform for Torture, Summary Execution and Disappearance Victims - by
cos Exnesto“Rondon: - deceased
16 842 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - b4
Raquel Ramos Rimonte - next of Kin (wife) ‘
843 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - b+
Dominador R. Nogoy, Sr. 1
844 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Romeo L.. Villarta Jr. ]
845 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Valentina Delgado
846 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Rudy Ramos
847 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Milagros Lumabi Echanis
848 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Dante L. Velasco
849 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Albert Rivera Enriquez ,
850 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Gerundio A. Boyles :
17 851 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims ~ by
Apolinario G. Arcasitas
852 | PETITION for an Award of Attorneys' Fees and Costs for Providing Benefit and ‘
Service to the Class and Class Attorneys ~ referred to Judge Manuel Real
853 NOTICE OF MOTION; The Plaintiff Class' Motion for Final Approval of the Settiemer
Agreement; The Plaintiff Class' Memorandum in Support of Motion for Final
Approval of Settlement Agreement; Exhibits a-C; Certificate of Service -
set for April 29, 1999 @10:00 a.m. before Judge Manuel L. Real
854 NOTICE OF MOTION; Class Counsel's Joint Motion for Attorneys' Fees and
Reimbursement of Expenses; Memorandum of Law of Class Counsel. in Support of
their Joint Motion for Attorneys' Fees and Reimbursement of Expenses ;
Exhibit A-M; Certificate of Service - set for April 29, 1999 @10:00 a.m.
before Judge Manuel L. Real
855 NOTICE OF MOTION and MOTION FOR ATTORNEYS FEES - set for April 29, 1999 @10:00a.1
before Judge Manuel L. Real
18 856 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Antonio L. Robles
837 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Danilo C. Garcia
858 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Macaria M. Dosal
859 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - bs
Macaria Mabuiac Dosal
860 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims -~ be
Adoracion Villarubia Claro
861 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - b
Mary Fe Baban-~Arquiza
862 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - be
Victoria P. Ampolaquio
863 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - b:

Jerry Casona (victim)

Sam Bade FF

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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF OEFENGANT
- | DOCKET NOMDL 840 _
IN RE: ESTATE OF FERDINAND E, MASCO$ HUMAN RIGHTS LITIGATION pace 72_oF___ PAGES
DATE NR. PROCEEDINGS
1999
Mar 18 | 864 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Bert Lino §. Garcia
865 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Virgilio Silva, deceased - by Leonor Silva
866 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Elenito Magsayo Gundaya
867 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Alfredo M. Grayda - by Ubaldo M. Grayda
868 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Victor De Mesa Belen, Sr it.
869 |§ PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims ~ by
Plaridel A. Dela Cruz
870 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Regina Bulatao Dela Cruz by Ruby Dela Cruz
871 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Leonesa E. Haveria .
872 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Cecilia C. Lagman
(873 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by;
Lolita Labial Bitancor
19 | 874 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Bernardita V. DeGuzman
875 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Manuel Miguel "Mike" Garcia
876 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims ~- by|
Nestor T. Ongkingco by Petronio S. Ongkingco
877 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Rey Lorenzo H. Acebedo by Andrea H. Acebedo
878 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims ~ by
Nolito H. Acebedo by Andrea H, Acebedo
879 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Florentine Manato Luber
880 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims ~ by
Virgilio Factoran by Melinda $. Factoran
881 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Dominga Deguzman Alfonso
882 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Danilo Z. Gonzales by Lydia Gonzales
883 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Andres L. Tion (deceased) by Leonicia T. Lopez
884 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Margarito B. Maestre by Generosa B. Maestre
885 PROOF of Claim Form for Torture, Summary Execution and Bisappearance Victims - by
Carlos A. Madali by Asuncion A. Nadali
886 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Arsenia E. Petilla .
887 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims ~- by
Dr. Bienvenido S. Sanifono
See Page 73

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CIVIL. DOCKET CONTINUATION SHEET
PLAINTIFF ' OEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

DOCKET NO, MDL 840

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PROCEEDINGS

See Page 74

DATE NR.
1999
Mar 19 888 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Arumpac Moda ~ by Sunang M. Pangcoga
889 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Mamasa Maguindanao B. Meda by Sunang M. Pangcoga
890 | OBJECTIONS - Intention to Appear in Court ~ by Renaldo L. Isip - RE: Proposed
Settlement
, 891 DECLARATION of Manuel A. Palangre - Re: Claim for Victims
892 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Captain Alberto Bagasbas by Asuncion Bagabas (wife)
22 893 Buncio/Fabic Plaintiffs and their counsel Randall H. Scarlett NOTICE OF MOTION and
MOTION For Attorneys’ Fees and Executive Committee Costs - set for April 29,
@ 10:00 a.m. before Judge Manuel L. Real - [Relates to All Actions]
834 Declaration of Randall H. Scarlett - [Relates to All Actions]
895 Memorandum of Points and Authorities (Re: Motion for Attorneys’ Fees} ~ [Relates 4
all Actions]
896 | PROOF of Claim Form For Torture Victims - by Hilario C. Pagcaliwagan by Susan A.
Pagcaliwagan
897 PROOF of Claim Form For Torture Victims - by Alex Rivera Santos, Deceased by Tereg:
F. Tamayo
898 |PROOF of Claim Form For Torture Victims - by Benardita V. DeGuzman
899 |PROOF of Claim Form For Torture Victims - by Antonio B. Saplaco
900 |PROOF of Claim Form For Torture Victims - by Agripino C. Caneos, dr.
S01 (PROOF of Claim Form For Torture Victims - by Manolo Repuela
902 (PROOF of Claim Form For Torture Victims ~ by Wilfredo P. Domingo
903 |PROOF of Claim Form For Torture Victims - by Francisco S. Vilbar
23 904 :EO:; Pursuant to Judge Real's Order ~ All Claim Forms are not to be kept in the
Public File. REAL
905 (AMENDED Notice of Motion for Attorneys Fees - on behalf of Sison/Piopongco
Plaintiffs - Cv 86-390, 86-225, 87-138 - set for April 29, 1999 @ 10:00 a.m.
before Judge Mauel L. Réal
906 | Proof of Service ~ om behalf of Sison/Piopongco Plaintiffs - Cv 86-390, 86-225,
87-138
24 907 |PROOF of Claim Form For Torture Victims ~ by Lualhati S. Roque
908 | PROOF of Claim Form For Torture Victims - by Dominador C. Lopez, Deceased by
Flor Lopez
909 | PROOF of Claim Form For Torture Victims - by Jaime C. Lopez, Deceased by Lorena
Lopez
910 | PROOF of Claim Form For Torture Victims - by Magtangol S. Roque, Deceased by
Lualhati §. Roque
911 |PROOF of Claim Form For Torture Victims - by Alfredo C. Villanueva
912 |PROOF of Claim Form For Torture Victims ~ by Rodolfo Reyes Laurente
913 {PROOF of Claim Form For Torture Victims - by Manuel F. Bazan
914 | PROOF of Claim Form For Torture Victims - by William A. Galario
915 PROOF of Claim Form For Torture Victims - by Jose 0. Ramento
916 -PROOF of Claim Form For Torture Victims - by Erneste H. Aboloc
917 |PROOF of Claim Form For Torture Victims - by Primo Marsan Tan, Deceased by Robertc
L. Tan
918 |PROOF of Claim Form For Torture Victims - by Melencio R. Cabaraban
919 | PROOF of Claim Form For Torture Victims - by Edgar A. Atadero

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PLAINTIFF

IN RE: ESTATE OF FERDINAND FE. MARCOS BUMAN RIGHTS LITIGATION

OF ENDANT

DOCKET NOMDL 840

PAGE 74or_ paces

PROCEERINGS

DATE NR.
1999
Mar 24 $20 (PROOF of Claim Form For Torture Victims - by Ricardo A. Galaria, Deceased by

Estrellita Q. Galario

921 [PROOF of Claim Form For Torture Victims - by Sammy Ugal

922 PROOF of Claim Form For Torture Victims - by Anastacia P. Pasco

923 [PROOF of Claim Form For Torture Victims - by Renato Faher Venzuela

924 PROOF of Claim Form For Torture Victims - by Marcelino 0. Parina, Deceased by
Rodrigo C. Parina

925 PROOF of Claim Form For Torture Victims - by Catalino Sate Siarot

926 |PROOF of Claim Form For Torture Victims - by Rene C. Atablanco

927 PROOF of Claim Porm For Torture Victims - by Agbu Delfin

928 PROOF of Claim Form For Torture Victims - by Estaneslao Estrabila, Deceased by
Catalina S. Estrabila

929 (PROOF of Claim Form For Torture Victims - by Adolfo C. Lauzon

930 ‘PROOF of Claim Form For Torture Victims - by Hermogenes Agquasa, Jr.

931 [PROOF of Claim Form For Torture Victims - by Rosauro V. Dongallo, dr.

932 (PROOF of Claim Form For Torture Victims ~ by Edward A. Azucena

933 [PROOF of Claim Form For Torture Victims - by Carlito Aderiz

934 PROOF of Claim Form Fer Torture Victims ~ by Mario M, Liwag

.935 PROOF of Claim Form For Torture Victims ~ by Carlito $s. Martirez, Deceased by
Sefia R. Matirez

936 |PROOF of Claim Form For Torture Victims - by Jonathan D. Millan, Deceased by
Erlinda D. Millan

937 PROOF of Claim Form For Torture Victims - by Sotero C. Huinda, Jr.

938 (PROOF of Claim Form For Torture Victims - by Silvino Maderazo

939 |PROOF of Claim Form For Torture Victims - by Cenon Lusica Sr.

940 [PROOF of Claim Form For Torture Victims - by Arturo S. Auayang

941 (PROOF of Claim Form Fer Torture Victims - by Darius C. Huinda

942 |PROOF of Claim Form For Torture Victims ~- by Oscar P, Manila

943 PROOF of Claim Form For Terture Victims - by Berlito Abenoja

944 (PROOF of Claim Form For Torture Victims - by Dominador T. Montera

945 PROOF of Claim Form For Torture Victims - by Margarita R. Agpas

946 |PROOF of Claim Form For Torture Victims ~ by Danilo D. Tampos

947 PROOF of Claim Form For Torture Victims - by Noel B. Alvarado, Deceased by
Benjamin L. Alvarado

948 PROOF of Claim Form Far Torture Victims - by Epimethéeus Mapanlo

949° PROOF of Claim Form For Torture Victims - by Emeliana Torion

350 PROOF of Claim Form Fer Torture Victims - by Aurora L. Medrano

951 PROOF of Claim Form For Torture Victims - by Celso Bernados

952 PROOF of Claim Form For Torture Victims - by Inting Borja

953 PROOF of Claim Ferm For Torture Victims - by Flayiano 65. Aparri, dr.

954 (PROOF of Claim Form For Torture Victims - by Melecio Borbon Dicsma

955 PROOF of Claim Form For Torture Victims ~- by Cesar Fernandez Bristol

956 PROOF of Claim Form For Torture Victims ~ by Florentino D. Rubino

957 PROOF of Claim Form For Torture Victims - by Miguel L. Laron

958 PROOF of Claim Form For Torture Victims - by Celestino P. Rim

959 PROOF of Claim Form For Torture Victims - by Rodelio Deguit Emperado

960 PROOF of Claim Form For Torture Victims - by Marciano V. Tancawan

961 PROOF of Claim Form For Torture Victims ~ by Rene Ravelo Tajonera

962 PROOF of Claim Form For Torture Victims - by Allan C. Bautista

963 PROOF of Claim Form For Torture Victims - by Demecrito Penido, Deceased by Elecia

Penido

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OC LIA
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CIVIL DOCKET CONTINUATION SHEET
PLAENTIFF : DEFENDANT

DOCKET No.MDL_ 8406
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

PAGE _750F PAGES

DATE NR. FROCEEDINGS

1999
Mar 24 964 PROOF of Claim Form Fer Torture Victims - by Eugenio R. Mercado
965 PROOF of Claim Form For Torture Victims - by Eufronio L. Maybuena Sr.
966 PROOF of Claim Form For Torture Victims - by Arthur L. Medrano
967 PROOF of Claim Form For Torture Victims - by Sancho 5. Via
968 PROOF of Claim Form Por Torture Victims - by Amaryllis Hilao-Enriquez
969 PROOF of Claim Form Por Torture Victims - by Ireneo Ervas Y. Exrmitano
970 PROOF of Claim Form For Torture Victims - by Antonio B. Pontanares
971 PROOF of Claim Form For Torture Victims - by Fernando D. Borja
972 | PROOF of Claim Form Por Torture Victims - by Carlito D. Borja
973 PROOF of Claim Form For Torture Victims ~ by Antonio C. Liongson
O74 PROOF of Claim Porm For Disappearance Victims - by Edsrael Buto by Anco K. Buto
975 PROOF of Claim Form For Disappearance Victims - by Marakay P. Silongan by Marakay
P.S. ITlonga
976 PROOF of Claim Ferm For Disappearance Victims - by Baigiom A. Kendo
977 PROOF of Claim Form For Disappearance Victims - by Feliciana C. Tajonera
378 PROOF of Claim Form For Disappearance Victims - by Avelina Tajos-Giente
979 PROOF of Claim Form For Disappearance Victims ~ by Antolin M. Enriquez by Gery
R. Enriquez .
980 PROOF of Claim Form For Disappearance Victims - by Rudy F. Magpayo by Luz WN.
Magpayo
981 PROOF of Claim Form For Disappearance Victims - by Valeriano Denado by Delores P.
Denado
982 PROOF of Claim Form For Disappearance Victims - by Gaudensio B. Indino III by
Candelaria Duran Vda De Indino
983 PROOF of Claim Form For Disappearance Victims ~- by Helario D. Malanday by Ervina
M. Indaqg
984 PROOF of Claim Form For Disappearance Victims - by Lorenzo Sachico M. Cabigan by
Apolinaria M. Cabigan
985 | PROOF of Claim Form For Disappearance Victims - by Catalino B. Bajado by Violeta
B. Bajado
986 | PROOF of Claim Form For Disappearance Victims - by Christopher B. Celicious by
Alfredo B. Celecious
987 | PROOF of Claim Form For Disappearance Victims ~ by Reynaldo L, Buan by Carmen L.

Buan

988 | PROOF of Claim Form For Disappearance Victims - by Fausto C. Carbonell by Febe Db.
Carbonell

989 PROOF of Claim Form For Disappearance Victims ~ by Mila M. Falcon by Vicente M.
Faicon

990 | PROOF of Claim Form For Disappearance Victims - by Konowa Omar by Mohamad Omar
991 | PROOF of Claim Form For Disappearance Victims - by Domingo Gutlay and Geronimo
Gutlay by Antonio Gutlay

992 | PROOF of Claim Form For Disappearance Victims - by Leopoldo G. Gaton by Tito G.
Gaton

993 | PROOF of Claim Form For Disappearance Victims - by Sergio L. Comision by Nicomedes
E. Comision

994 | PROOF of Claim Form For Disappearance Victims - by Mariano Velasco Laxa by Jovita.
B. Valiente

995 | PROOF of Claim Form For Disappearance Victims - by Maqusol Ayob

996 | PROOF of Claim Form For Disappearance Victims - by Rogelio N. Iran by Alejo Iran
997 | PROOF of Claim Porm For Disappearance Victims - by Patricio Jawjaw by Lilia J.

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Ma PagelD.264 Ben
CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF , DEFENDANT :
| | DOCKET NO. MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

| PAGE 76_oF PAGES
| :
DATE NR, PROCEEDINGS
1999
Mar 24 998 | PROOP of Claim Form For Disappearance Victims ~- by Benito P. Sacluti by Necita c.
Sacluti
999) PROOF of Claim Form For Disappearance Victims - by Severine Rofenian by Rosario
Rofenian

1000 | PROOF of Claim Form For Disappearance Victims - by Selnestre 8. Azares, Jr. by
Estrilita S. Azares

| LOOL: PROOF of Claim Form Por Disappearance Victims - by Hersimo Benas by Canisio Benas
1002. PROOF of Claim Form For Disappearance Victims - by Sofina Acenas Lipanta, Raul
Lipanta, Mariza Lipanta by Liza Lipanta Belohan

1003 PROOF of Claim Form For Disappearance Victims - by Yolando Reymundo by Tiodosia
Reymundo

1004 PROOF of Claim Form For Disappearance Victims - by Rodolfo B. Ganas by Segundo
Ganas

10051 PROOF of Claim Form For Disappearance Victims - by Redolfo G. Puro by Araceli Purp
L006) PROOF of Claim Form For Disappeardnce Victims - by Maria Guadalupe Bilmen
1007 PROOF of Claim Form For Disappearance Victims - by Hernando Gamit by Pacita Gamit!
1008 PROOF of Claim Form For Disappearance Victims - by Lucia B. Darimon

10091 PROOF of Claim Form For Disappearance Victims - by Luis H. Ybanez

1010} PROOF of Claim Form For Disappearance Victims - by Danilo E. Bico

1011 PROOF of Claim Form For Disappearance Victims ~ by Romualdo E. Dabuet by Eulalia
E. Dabuet

1012/ PROOF of Claim Form For Disappearance Victims - by Jose E. Mabilangan by Trinidad
E. Mabilangan

1013 PROOF of Claim Form For Disappearance Victims - by Gluterio L. Mabilangan by
Juanito L. Mabilangan

1014} PROOF of Claim Ferm For Disappearance Victims ~- by Roberto V. Udtujan

1015) PROOF of Claim Form For Disappearance Victims - by Rudy Borromeo by Jose Borromed
1016 PROOF of Claim Form For Disappearance Victims - by Antonio Tagbacaula by Emelio
N. Tagbacaula

1017 | PROOF of Claim Form For Disappearance Victims - by Zenaida J. Goc-Ong

L018; PROOF of Claim Form Por Disappearance Victims - by Bernardo Q. Buntag, Sr. by
Magdalena S. Buntag

1019! PROOF of Claim Form For Disappearance Victims ~- by Bonifacio C. Soriano by Mary
Marilyn M. Soriano

10201 PROOF of Claim Form For Disappearance Victims - by Taks Kamad

1021 | PROOF of Claim Form For Disappearance Victims ~ by Lolito R. Limaco by Liberata 3.
Limpao ~

1022| PROOF of Claim Form For Disappearance Victims - by Francisco C. Gabiana

1023) PROOF of Claim Form For Disappearance Victims ~ by Degario Cabuenos by Dolores
B. Cabuenos

1024| PROOF of Claim Form For Disappearance Victims - by Corazon Estojero

1025 | PROOF of Claim Form For Disappearance Victims - by Lorena C. Lopez

1626 PROOF of Claim Form For Disappearance Victims ~ by Telespore C. Doculon by Perfecta
Cc. Deculon :

1027 | PROOF of Claim Form For Summary Execution Victims - by Modesto T. Floranda
1028, PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims -
by Alfredo P. Repuno

1029] PROOF of Claim Form For Torture Victims - by Henry F. Padilla

1030) PROOF of Claim Form For Torture Victims ~ by Manuel Miguel M. Garcia

1031) PROOF of Claim Form For Torture Victims - by Eufracio S$. Umahi

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE: ESTATE

DEFENDANT
pocket No. MBL 840

OF PERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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DATE NR. PROCEEDINGS
1999
Mar 24 1032 | PROOF of Claim Form For Torture Victims - by Reynaldo Garcia, Deceased by Emily
Garcia
1033 | STATEMENT by Restituta FP. Orbillo re: Domingo Orbillo, Class Member
1034 | STATEMENT by Patrick Sena Gaerlan ard Jennifer Sena Gaerlar re: Rafael Balmori
Gaerlan
1035 | STATEMENT by Sturnino 0. Ramento
1036 | STATEMENT by Domingo S. Porley, Sr.
1037 | STATEMENT by Preciosima B. Ricc
1038 | STATEMENT by Arellano Mejia
1039 | STATEMENT by Editha C. Hamoy
104¢ | STATEMENT by Celso F. Bernados
1041 STATEMENT by Dalene Reminalda
1042 | PROOF of Claim Form - by Pamfile Golde
1043 | PROOF of Claim Form « by Pepita Deheran by Gregoria Deheran
1044 | PROOF of Claim Form - by Venancio R. Castro
1045 | PROOF of Claim Form for Torture Victims - by Dionisio T. Talipan
1046 | PROOF of Claim Form for Disappearance Victims ~ by Resteta Aquinaldo Fernandez
by Jose A. Fernandez

1047 , PROOF of Claim Form ~ by Ricardo C. Nacei
1048 | PROOF of Claim Form - by Ricardo B. DeVega
1049 | PROOF of Claim Form - by Ambrocia Palermo
2050 | PROOF of Claim Form - by Casiano Redoma
1051 | PROOF of Claim Form - by Angel Portinto
1052 | PROOF of Claim Form - by Diesdado B. Bunam
1053 | PROOF of Claim Form ~ by Ranmil Lumabi Echanis
1054 | PROOF of Claim Form - by Bonifacio Padilla
1055 | PROOF of Claim Form - by Amado Pumsalam
1056 | PROOF of Claim Form - by Anacita Rechohermoso
1057 | PROOF of Claim Form ~- by Gloria Pondivida
1058 | PROOF of Claim Form - by Diego Lurena.
1059 | PROOF of Claim Form - by Teodoro B. Villareal
1060 | PROOF of Claim Form - by Delfin Pizarr
1061 |) PROOF of Claim Form ~ by Jovito Pondivida
1LO62 | PROOF cf Claim Form - by Fernando Perlas
1063 | PROOF of Claim Form - by Liwayway Quendoza
1064 | PROOF of Claim Form - by Jase Penaflor
10665 | PROOF of Claim Form - by Catalina Pondivida
1066 | PROOF of Claim Form ~ by Santos Pondivida
1067 | PROOF of Claim Form ~ by Teresita Perlas
LO68 | PROOF of Claim Form - by Presentacion Perlas
1069 ; PROOF of Claim Form ~- by Semion Recochermoso
1070 | PROOF of Claim Form ~ by Venancio Del Mundo
107].| PROOF of Claim Form - by Shirley A. Palermo
1072 | PROOF of Claim Form - by Leon Palermo
1073 | PROOF of Claim Form - by Anacita Palermo
1074 | PROOF of Claim Form ~ by Carlito Perlas
1075 | PROOF of Claim Form - by Marcila P. Penaflor
1076 | PROOF of Claim Form + by Marcilino Pelandiana
1077 | PROOF of Claim Form - by Merlyn Mantala
1078 | PROOF of Claim Form ~ by Leon Palermo, dr.
1079 | PROOF of Claim Form - by Clemente Mantala

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PLAINTIFF DEFENDANT
| DOCKET No. MDE 840
-IN RE: ESTATE OF FERDINAND BF. MARCOS [HUMAN RIGHTS LITIGATION i
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DATE NR. PROCEEDINGS
1999 |
Mar 24/1080 | PROOF of Claim Form ~ by Alberto Frondoza
1081 | PROOF of Claim Form - by Hermogenes Ritardo
1082 | PROOF of Claim Form - by Gregorio Frondoza
1083 PROOF of Claim Form ~« by Rogglio Delos Santos
1084 | PROOF of Claim Form - by Cayetano Lurina
L085 | PROOF of Claim Form ~ by Anaclito Ramento
1086 | PROOF of Claim Form -~ by Delfin 0. Moslares
1087 | PROOF of Claim Porm - by Romulo P. Pondivida
1088 | PROOF of Claim Form ~ by Pascual Portento, Deceased by Juliana P. Pertento
1089 | PROOF of Claim Form - by Ramir FP. Perlas
1090 | PROOF of Claim Form ~ by Angelina De Lunas
LOSL | PROOF of Claim Form ~ by Ricardo Rivas
1092 | PROOP of Claim Form ~ by Zenaida Medena
1093 | PROGF of Claim Form - by Estanislao Perlas
1094 PROOF of Claim Form - by Liodelefon Ronquello
1095 | PROOF of Claim Form - by Irene Pondivida
1036 PROOF of Claim Ferm - by Banjamen frondoza
1097 | PROOF of Claim Form - by Vinancio Recohermoso
1098 | PROOF of Claim Form - by Recilla Silvino
1099 PROOF of Claim Form ~ by Isidro Pirida
1100 | PROOF of Claim Form - by Renato Romasante, Deceased by Liwayway Romasanta
LILO] | PROOF of Claim Form - by Agripina P. Porley
1102 | PROOF of Claim Form - by Lorenzo Portinto
1103 | OPPOSITION and OBJECTION to the Agreement of Compromise by 56 Plaintiff Class
Members - Cv 86-390, 86-330
25 | 1104 OPPOSITION to the Agreement of Compromise and Settlement and to Claim for
Attorney's Fees and Expenses With Prayer for Extension of Time to Enable
Other Class Members to File Their Oppesitions - cc: Judge Real
1105 PROOF of Claim Form for Summary Elecution Victims - Rafael G. Baylosis
L106 | PROOF of Claim Form for Torture Victims - by Antonio M. Aderes
1107 | PROOF of Claim Form for Torture Victims - by Emeliano P. Manigo
1108 PROOF of Claim Form for Torture Victims - by Rogelio C. Tonacao
1109 | PROOF of Claim Form for Torture Victims - by Eddie Sederia
1110 | PROOF of Claim Form for Torture Victims - by Isabelita V. Estodillo
1111 | PROOF of Claim Form for Torture Victims -~ by Dominador L. Acueza
1112 | PROOF of Claim Form for Torture Victims - by Rolando Morales by Loreta Valdehueza
1113, PROOF of Claim Form for Torture Victims - by Jaime P. Diga
1114 | PROOF of Claim Form for Torture Victims - by Leonor Morales by Loreta M. Vaidehue
LL15 | PROOF of Claim Form for Torture Victims - by David M. Dacop
1116 | PROOF of Claim Form for Torture Victims - by Tomas A. Halina
1117 PROOF of Claim Form for Torture Victims - by Ramon R. Madridee
1118 | PROOF of Claim Form for Torture Victims - by Walter P. Dacumos aka Walter Weatler
aka Walter Woesner
| 1119 | PROOF of Claim Form for Torture Victims - by Alberto L. Cupang by Merlita L.
Cupang
1120 | PROOF of Claim Form for Torture Victims - by Alvin 3. Exconde
1121 | PROOF of Claim Form for Torture Victims - by Florentino Z. Rubino, II
1122 | PROOF of Claim Form for Torture Victims - by Leticia S$. Segui
1123 | PROOF of Claim Form for Torture Victims - by Urbano R. De Las Alas by Miguelito
M. De Las Alas
1124 | PROOF of Claim Form for Torture Victims - by Ponciano P. Ricamara by Bienvenido
P. Ricamara

- see page 79 -

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DC LILA
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CiVVIL, DOCKET CONTINUATION SHEET
PLAINTIFE ; DEFENDANT

IN re: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

pocKeET NO.MDL 840

PAGE 79 oF PAGES

DATE NR. PROCEEDINGS

1999

Gerardo B. Ricamara

Rebullido

Colagong

Liberata Singo Limaco
Tomocse

Crispulo Gutlay, Sr.

Leoncia §&. Lucaban

Labong

and Cerilo Labong

Pandita

Remegio Dollizon, Agueda T. Dollizon
Pal

Costodio P. Obline

Abjulkarim Abas

Ciriaca C. Sipsip

Nicanoma T. Juat

Magdayac

Nicanora T. Juat

86-330] (Ce: all parties)

Pe ee

Mar 25 1125 | PROOF of Claim Form for Torture Victims - by Bienvenido P. Ricamara by

1126 | PROOF of Claim Form for Torture Victims - by Silver Basilio by Rosalie U. Basilio
1127 | PROOF of Claim Form for Torture Victims - by Rogelio B. Buella

1128 | PROOF of Claim Form for Torture Victims - by Juanito C. Samson

1129 | PROOF of Claim Form for Torture Victims - by Freddie B. Burge

1130 | PROOF of Claim Form for Torture Victims - by Felixberto Rebullido by Benilda
Reodique, Benilda Rebullido, II, Felipe Rebullido and Letecio

1131 | PROOF of Claim Form for Torture Victims < by Alipio T. Juat by Nicanera T. Juat
1132 | PROOF of Claim Form for Torture Victims - by Rizal Calixto by Romel B. Calixto
1133 PROOF of Claim Form for Torture Victims - by Ernesto Demings

1134 | PROOF of Claim Form for Torture Victims - by Eliezer C. Corpuz

1135 | PROOF of Claim Form for Disappearance Victims - by Toribio Colagong by Teresita

1136 | PROOF of Claim Form for Disappearance Victims - by Lolito R. Limaco by

1138 PROOF of Claim Form for Disappearance Victims - by Crispulo Gutlay, Jr. by

1147 | PROOF of Claim Form for Disappearance Victims ~ by Melchor P. Oblimo by

1137 | PROOF of Claim Form for Disappearance Victims ~by Cesar Tomocso by Felipe B.

1139 | PROOF of Claim Form for Disappearance Victims - by Rodrigo S. Lucaban by

1140 | PROOF of Claim Form for Disappearance Victims - by Benedicto Abawag Mabilangan
1141 | PROOF of Claim Form for Disappearance Victims ~- by Elizabeth Bacaycay
1142 PROOF of Claim Form for Disappearance Victims - by Rosita D. Labong by Jesus A.

i

1143 | PROOF of Claim Form for Disappearance Victims - by Pacita Labong by Vedasto Labon:
1144 | PROOF of Claim Form for Disappearance Victims - by Santos Pandita by Agustin
1145 | PROOF of Claim Form for Disappearance Victims - by Richard Trillo Dollizon by

1146 | PROOF of Claim Form for Disappearance Victims - by Condrado Pal by Alejandra 0.

1148 | PROOF of Claim Form for Disappearance Victims - by Sandatu Abas by Had ji

1149 | PROOF of Claim Form for Disappearance Victims ~ by Benito Sipsip Y Zosas by
1150 | PROOF of Claim Form for Disappearance Victims- by Romeo T. Tibayan, Jr. by

1151 | PROOF of Claim Form for Disappearance Victims - Ricardo V. Magdayao by Gaudioso
1152 | PROOF of Claim Form for Disappearance Victims - by Aniceto T. Tibayan by

1153 [ORDER ~ [Counsel for the Class shall file by April 15, 1999 in connection with

the Joint Motion for Attorneys' Fees and Costs an itemized statement of
Costs and an hourly record of hours charged to this matter] - [Cv 86~3¢

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CIVIL DOCKES CONT IGATION SHEET”
PLAINTIFF | CEFENDANT i

IN RE: ESTATE

OF PERDINAND E, MARCOS ‘HUMAN RIGHTS LITIGATION

pocket no, MDL 840

pace 8007 paces
GATE NR, PROCEEDINGS
1999
Mar 25 1154 Statement by Jesus B. Tunqueza
1155 Statement by Lucrecio $. Bunao
LI56 i Statement by Mansuito Legaspina
1157 | PROOF of Claim Form by Gaudencio A. Sarangaya TIT
1158 | PROOF of Claim Form by Anastacia P. Capales
1159 | PROOF of Claim Form by Leonarda Jose
1160 | PROOF of Claim Form by Rogelio Gamtal
1161 |Statement by Hilario M. Domingo
1162 (Statement by Leticia S. Segqumi
1163 (Statement by Lenville C. Salvador
26 1164 | PROOF of Claim Form for Torture Victims by Federico Bansag
1165 | PROOF of Claim Form for torture Victims by Avelino Lontoc
1166 PROOF of Claim Form for Torture Victims by Momar Gaudencio
1167 | PROOF of Claim Form for Torture Victims by Virgilio M. Mendones
1168 PROOF of Claim Form for Torture Victims by Cristino Petenio Mahinaya aka Mimong
2169 (PROOF of Claim Porm for Torture Victims by Ramon P. Mabanag
L170 | PROOF of Claim Form for Torture Victims by Federico Bansag
1171 | PROOF of Claim Form for Torture Victims by Alejandro G. Santos
‘1172 PROOF of Claim Form for Torture Victims by Oly C. Agqudera Sr.
1173 | PROOF of Claim Form for Torture Victims by Jovita 0. Agudera
1174 | PROOF of Claim Form for Torture Victims by Bienvenido R. Blaga
1175 | PROOF of Claim Form for Torture Victims by Pedro C. Binoya Jr.
1176 | PROOF of Claim Form for Torture Victims by Macario B. Gudayan
1177 (PROOF of Claim Form for Torture Victims by Jose C. Dumalan
1178 | PROOF of Claim Form for Torture Victims by Fernando T. Andrada
1179 | PROOF of Claim Porm for torture Victims by George C. Agnawi
1180 | PROOF of Claim Form for Torture Victims by Arte B. Gudayan
1181 = PROOF of Claim Form for Torture Victims by Tony Ambrocic, Deceased by Sixto P.
Ambrocio
1182 PROOF of Claim Form for Torture Victims by Esminio T. Domingo
1183 | PROOF of Claim Form for Torture Victims by Pascual C. Aqnawi
1184 (PROOF of Claim Form for Torture Victins by Felix A. Aqtang
1185 PROOF of Claim Form for Torture Victims by Isidro D. Andres
1186 | PROOF of Claim Form for Torture Victims by Balbino Sinuleng
1187 (PROOF of Claim Form for Torture Victims by Pacifico A. Carles
1188 (PROOF of Claim Form for Torture Victims by Melecio C. Agpuido
(1189 PROOF of Claim Form for Torture Victims by Amador A. Acacio
1190 PROOF of Claim Form for Torture Victims by Hilario Domings
1191 PROOF of Claim Form for Torture Victims by Martin A. Acacio
1192 | PROOF of Claim Form for Torture Victims by Fausto Sta Ana, Deceased by Lilia M.
Sta. Ana
1193 | PROOF of Claim Form for Torture Victims by Orlando Q. Agudera
1194 PROOF of Claim Form for Disappearance Victims by Francisco Mongal
1195 | PROOF of Claim Form for Torture Victims by Orlando M. Bello
1196 =PROOF of Claim Form for Torture Victims by Francisco S$. Vilbar
1197 PROOF of Claim Form for Torture Victims by Ernesto de Mesa
1198 | PROOF of Claim Form for Torture Victims by Basilio A. Vidad
1199 PROOF of Claim Form for Torture Victims by Federico 9. Vidad
1200 PROOF of Claim Form for Torture Victims by Roy A. Butac
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF ' DEFENDANT

IN RE: ESTATE

OF FEDRINAND E, MARCOS HUMAN RIGHTS LITIGATION

| DOCKET No, MDL 840 _
PAGES

| PAGE B1 oF

DATE NR. PROCEEDINGS
1999
Mar 26 1201 | PROOF of Claim Form for Torture Victims by Poldino A. Carias
1202 | PROOF of Claim Form for Torture Victims by Dante B. Vitug
1203 | PROOF of Claim Form fer Torture Victims by Narciso Reyes
1204 | PROOF cf Claim Form for Torture Victims by Jessie A. Vslentin
1205 | PROOF of Claim Form for Torture Victims by Rogie Butac
1206 | PROOF of Claim Form for Torture Victims by Samy A. Carlos
1207 | PROOF of Claim Form for Torture Victims by Martin J. Flores
1208 | PROOF of Claim Form for Torture Victims by Artemio Velasquez Raymundo
1209 | PROOF of Claim Form for Torture Victims by Nestor C. Masinaring
1210 | PROOF of Claim Form for Disappearance Victims by Salasal Asao
121] | PROOF of Claim Form for Disappearance Victims by Teofilo Lanzaderas, Deceased by
Basilisa Lanzaderas
1212 | PROOF of Claim Porm for Disappearance Victims by Cirillo Tamparong, Missing by
Elizabeth T. Batoy
1213 | PROOF of Claim Form for Disappearance Victims by Ernesto H. Adran
1214 | PROOF of Claim Form for Disappearance Victims by Solto Asao
1215 _ PROOF of Claim Form for Disappearance Victims by Glenn ©. Pelaez, Deceased by
Elnora 0. Pelaez
1216 | PROOF of Claim Form for Disappearance Victims by Reynalde L. Bula, Deceased hy
Eleuterio L. Bula
1217 | PROOF of Claim Form for Disappearance Victims by Julio Jaralbio, Deceased by
Juana E, Jaralbio
1218 | PROOF of Claim Form for Disappearance Victims by Lugasam Panambay, Deceased by
Jimmy Lugasam
1219 | PROOF of Claim Form for Disappearance Victims by Henry A. Delumbar, Deceased by
Rogelia A. Delumbar
1220 | PROOF of Claim Form for Disappearance Victims by Ernesto Jocesol, Deceased hy
Adelia Legria-Jocesol
1221 | PROOF of Claim Form for Disappearance Victims by Tirso M. Maniquez, Deceased by
Jose A. Maniquez
1222 | PROOF of Claim Form for Disappearance Victims by Francisco P. Galit, Deceased by
Sofronia D. Galit
1223 | PROOF of Claim Form for Disappearance Victims by Nenga M. Andal
1224 | PROOF of Claim Form for Disappearance Victims by Teofilo Lanzaderas, Deceased by
Basilisa Lanzaderas
1225 | PROOF of Claim Form for Disappearance Victims by Benjamin C. Duruin
1226 | PROOF of Claim Form for Summary Execution Victims by Cirilo Gaspar, Deceased by
Carmelita G. Gamiao
1227 | PROOF of Claim Form for Summary Execution Victims by Felix Gamiao, Deceased by
Loreta G. Rosete
1228 | PROOF of Claim Form for Summary Execution Victims by Alejandro S. Transfiguracion
1229 | PROOF of Claim Form for Summary Execution Victims by Andres 8. Transfiguracion
1230 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Melvin F. Plores
1231 | PROOF of Claim Form by Jimmy M. Omaoceng
1232 | Statement by the Andal Family
1233 | Statement by Catalino Catubig
1234 | Statement by Alberto A. Rosete
1235 | Statement by Vicente S. Garcia Jr.
1236 | Statement by Francis Anthony Principe
i237 | Statement by Margarita Erazo Asis

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PLAINTIFF

IN RE: ESTATE OF FERDINAND FE,

MARCCS HUMAN RIGHTS LITIGATION
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CEFENDANT

| DOCKET NOMDL 840

| PAGES2 oF PAGES
DATE NR, PROCEEDINGS
1999
Mar 26 1238 | PROOF of Claim Form for Torture Victims by Ciriaco F,. Andres
1239 PROOF of Claim Form for Torture Victims by Delfin G. Gamiao
1240 | PROOF of Claim Form for Torture Victims by Eustacio A. Cutor
1241 PROOF of Claim Form for Torture Victims by Arellano R. Mejia
1242 PROOF of Claim Form for Torture Victims by Junnie C. Bolastic
1243 | PROOF of Claim Form for Torture Victims by Manolo M. Repuela
1244 | PROOF of Claim Form for Torture Victims by Luis P. Portens
1245 | PROOF of Claim Form for Torture Victims by Fernando V. Forcado
29 1246 PROOF of Claim Form for Torture Victims by Cartomagno Cano Sr.
1247 PROOF of Claim Form for Torture Victims by Teresita Panis Garcia
1248 | PROOF of Claim Form for Torture Victims by Felix C. Gala, Jr.
1249 | PROOF of Claim Form for Torture Victims by Jose Alano Jr.
1250 | PROOF of Claim Form for Torture Victims by Gregorio A, Penaruiba, Deceased by
Lucia A. Penaruba
1251 | PROOF of Claim Form for Torture Victims by Rodrigo A. Alano
1252 PROOF of Claim Form for Torture Victims by Genny Alcevedo
1253 | PROOF of Claim Form for Torture Victims by Juana R. Regio
1254 PROOF of Claim Form for Torture Victims by Neieta G. Absalon
‘1255 | PROOF of Claim Form for Torture Victims by Emeterio ¢. Regio, Sr.
1256 | PROOF of Claim Form for Torture Victims by Bernardo R. Regio
1257 PROOF of Claim Form for Torture Victims by Simeon G. Pentaflorida
1258 | PROOF of Claim Form for Torture Victims by Ciriaco S, Penaflor
1259 | PROOF of Claim Porm for Torture Victims by Melinda H. Alcaide
1260 | PROOF of Claim Form for Torture Victims by Reynaldo BD. Solomon
1261 | PROOF of Claim Form for Torture Victims by Ernesto Canadallo
1262 _ PROOF of Claim Form for Torture Victims by Wilfredo I. Villaruel
1263 | PROOF of Claim Form for Terture Victims by Catalino Alcantara
1264 PROOF of Claim Form for Torture Victims by Felicidad Manalo
1265 | PROOF of Claim Form fer Torture Victims by Emeterio R. Regio, Jr.
1266 | PROOF of Claim Form for Torture Victims by Edwin Pelayo Damiar
1267 | PROOF of Claim Form for Torture Victims by Mario A. Taglayo
1268 | PROOF of Claim Form for Torture Victims by Clemente Cadelena Espinoza
1269 PROOF of Claim Form for Terture Victims by Jose T. Revaic
1270 | PROOF of Claim Form for Torture Victima by Renato Angelas Mangila
1271 | PROOF of Claim Form for Torture Victims by Felix M. Gala, Sr.
1272 | PROOF of Claim Form for Torture Victims by Basilio T. Alcuenc, Deceased by
Hermoso Alcueno
1273 | PROOF of Claim Form for Torture Victims by Rubanon C. Alcueno
1274 | PROOF of Claim Form for Torture Victims by Donato C. Cruzado, Deceased by
Ansenia P. Cruzado
1275 | PROOF of Claim Form for Torture Victims by Cresencia Vasquez
1276 | PROOF of Claim Form for Torture Victims by Leandro R. Regio
1277 _ PROOF of Claim Form for Torture Victims by Juan L. Andal
1278 | PROOF of Claim Form for Torture Victims by Gregorio A. Rodelas
1279 | PROOF of Claim Form for Torture Victims by Cesar Buenaventura
1280 | PROOF of Claim Form for Torture Victims by Jose 0. Genosa
1281 | PROOF of Claim Ferm for Torture Victims by Rodolfo P. Esplana
l282 | PROGF of Claim Form for Torture Victims by Selesteno Genoso
1283 | PROOF of Claim Form for Torture Victims by Efrain J. Paredes
1284 | PROOF of Claim Form for Torture Victims by Erlene G. Dangay
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PLAINTIFF

IN RE: ESTATE OF FERDINAND E.

ORFENDANT

MARCOS | HUMAN RIGHTS LITIGATION

pocket No, MDL 840

PAGES

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DATE NR. PROCEEDINGS
i999
Mar 29 1285 | PROOF of Claim Form for Torture Victims by Juliete S. Cempron
1286 | PROOF of Claim Form for Torture Victims by Laurente C. Ilagan
1287 | PROOF of Claim Form for Torture Victims by Tiburcio Abregana
1288 | PROOF of Claim Form for Torture Victims by Irene B. Revaldo
1289 | PROOF of Claim Form for Torture Victims by Joselito B. Durante
1290 | PROOF of Claim Form for Torture Victims by Pio Pino
1291 | PROOF of Claim Form for Torture Victims by Ruben Velasco Abing
1292 | PROOF of Claim Form for Torture Victims by Jocelyn B. Revaldo Ablao
1293 | PROOF of Claim Form for Torture Victims by Siegfred D. Deduro
1294 | PROOF of Claim Form for Torture Vietims by Fortunato A. Pelaez
1295 | PROOF of Claim Form for Torture Victims by Norberto E. Recarro
1296 | PROOF of Claim Form for Torture Victims by Nomeriano M. Mallari
1297 | PROOF of Claim Farm for Torture Victims by Lourdes Rivera
1298 | PROOF of Claim Form for Torture Victims by Rodolfo Mallari, Deceased by Corazon
Mallari
1299 | PROOF of Claim Form for Torture Victims by Angelo Vega
1300 | PROOF of Claim Form for Terture Victims by Rolando Kinahan Valdehueza
1301 | PROOF of Claim Form for Torture Victims by Moises C. Rascano
1302 | PROOF of Claim Form for Torture Victims by Angel B. Carlos
1303 | PROOF of Claim Form for Torture Victims by Samuel 2. Monfort
1304 | PROOF of Claim Form for Torture victims by Dominador B. Evaresto, Deceased by
Aurora Everesto
1305 | PROOF of Claim Form for Torture Victims by Gonzalo B. de Guzman, Deceased by Forth
A. Casteneda
1306 ; PROOF of Claim Form for Torture Vietims by Julio m. Mallari, Deceased by Julia A.
Mallari
1307 | PROOF of Claim Form for Torture Victims by Iqnacio Manalang, Deceased by Illadora
Cc. Manalang
1308 | PROOF of Claim Form for Torture Victims by Salvador C. Gomez, Deceased by
Felicidad S. Gomez
1309 | PROOF of Claim Form for Torture Victims by Calixto R. Rojo
1310 | PROOF of Claim Form for Torture Victims by Gorgonio Salvador
1311 | PROOF of Claim Form for Torture Victims by Ismael V. Erro
1312 | PROOF of Claim Form for Torture Victims by Teodoro R. Lor
1313 | PROOF of Claim Form for Torture Victims by Calextra A. Murillo
1314 | PROOF of Claim Form for Torture Victims by Edgar D, Pilapil
1315 | PROOF of Claim Form for Torture Victims by Efren Bongares Zape
1316 | PROOF of Claim Porm for Terture Victims by Leonardo Vasquez
1317 | PROOF of Claim Form for Torture Victims by Leah Clemente Cruz
1318 | PROOF of Claim Form for Torture Victims by Rogelio s. Cempron
1319 | PROOF of Claim Form for Torture Victims by Rogelio F. Pernia
1320 PROOF of Claim Form for Torture Victims by Pedro G. Flaca
1321 | PROOF of Claim Form for Torture Victims by Moises R. Cezar
1322 | PROOF of Claim Form for Torture Victims by Eliseo R. Rojo
1323 | PROOF of Claim Form for Torture Victims by Irenio R. Rojo
1324 | PROOF of Claim Form for Torture Victims by Fabian P. Romasanta
1325 | PROOF of Claim Form for Torture Victims by Abraham P. Orgenes
(1326 PROOF of Claim Form for Torture Victims by Resenda P. Pastrana
1327 | PROOF of Claim Form for Torture Victims by Justino L. Pascua
| 1328 | PROOF of Claim Form for Torture Victims by Honofre David Mangila, Deceased by
Conrado A. Mangila

«TEA Case 1:03-cv-11111- DKW- KJIM Document 1-3

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vee) PagelD.272 -
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFE DEFENDANT i
| COCKET No, MDL 840
IN RE: ESTATE OF PERDINAND FE. MARCOS | HUMAN RIGHTS LITIGATION :
| PaGe84 of paces
DATE NR. PROCEEDINGS
1999
Mar 29 1329 PROOF of Claim Form for torture Victims by Domiciano c. Amparo
1330 | PROOF of Claim Form for Torture Victims by Marivere O. Adea San Antonio
1331 | PROOF of Claim Form for Torture Victims by Marinito A. Dala
1332 | PROOF of Claim Form for Torture Victims by Adora Faye E. De Vera
1333 | PROOF of Claim Form for Torture Victims by Zosimo 0. Maga, Jr.
1334 PROOF of Claim Form for Torture Victims by Jovenal V. Aquino
1335 | PROOF of Claim Form for Torture Victims by Miquel Lacsa
/1336 | PpRoor of Claim Form for Torture Victims by Rebecca Rubio Abulon
1337 | PROOF of Claim Form for Torture Victims by Freddie RB. Burge
1338 | PROOF of Claim Form for Torture Victims by William C. Gacias
1339 | PROOF of Claim Form for Torture Victims by Renate Paz Lola, Deceased by Bella B.
| Lola
| 1340 PROOF of Claim Form for Torture Victims by Armando C. Frianeza, Deceased by Luceng
i Cabiliza
1341 PROOF of Claim Form for Torture Victims by Banjamin M. Maestre
1342 | PROOF of Claim Form for Torture Victima by Zosimo Albasin
/ 1343 | PROOF of Claim Form for Torture Victims by Beonido R. Regio
j 1344 | PROOF of Claim Form for Torture Victims by Cynthia A. Deduro
/-1345 | PROOF of Claim Form for Torture Victims by Solomon Fabroada Porcopio
1346 | PROOP of Claim Form for Torture Victims by Erlene G. Dangoy
1347 | PROOF of Claim Form for Torture Victims by Alfonso B. Bedonia, Jr.
1348 | PROOF of Claim Form for Tarture Victims by Antonio 8. Garcia
1349 | PROOF of Claim Form for Torture Victims by Ricardo V. Valbarez, Deceased by
Resita 0. Valbarez
1350 | PROOF of Claim Form for Torture Victims by Jose A. Kitching Jr.
1351 | PROOF of Claim Form for Torture Victims by Jose Ely T. Garachico
1352 | PROOF of Claim Form for Torture Victims by Carmelita Gadayan
1353 | PROOF of Claim Form for Torture Victims by Arig Balmores
1354 | PROOF of Claim Form for Torture Victims by Claudia A. Ducusin
1355 | PROOF of Claim Form for Torture Victims by Patermo C. Pama
1356 | PROOF of Claim Form for Torture Victims by Roberto Castor
| 1357 PROOF of Claim Form for Torture Victims by Medardo M. Perez, Deceased by Theresa
i DB. Santos
1358 | PROOF of Claim Form for Torture Victims by Virginia Castillo Loresto
, 1359 | PROOF of Claim Form for Torture Victims by Wilfredo A. Ortiz
| 1360, PROOF of Claim Form for torture Victims by Wilfredo A. Robie
| 1361 | PROOF of Claim Form for Torture Victims by Salvador Db. Cerio
| 1362 | PROOF of Claim Form for Torture Victims by Rufine Doronio Sr.
1363 | PROOF of Claim Form for Torture Victims by Medelie Diomedes Lorenzo
1364 | PROOF of Claim Form for Torture Victims by Ronaldo 8. Del Prado
1365 | PROOF of Claim Form for Torture Victimse by Mafred A. Ortiz
1366 PROOF of Claim Form for Torture Victims by Jamilah B. Bunda
1367 | PROOF of Claim Form for Torture Victims by Petroniloe Buhayan, Deceased by Julieta
| Buhayan
| 1368 PROOF of Claim Form for Torture Victims by Emilio M. Marba
1369 | PROOF of Claim Form for Torture Victims by Quirico E. Villareal, Jr.
1370 | PROOF of Claim Form for Torture Victims by Joe Marie D. Managbanag
| 1371 | PROOF of Claim Form for Torture Victims by Katalina Domingo
| 1372 PROOF of Claim Form for Torture Victims by Roberto R. Amores
| 1373 | PROOF of Claim Form for Torture Victims by Romulo Mallari
| 1374 PROOP of Claim Porm for Torture Victims by Cenon B. Lansangan

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DOLLA
(Rew. 1/75)
CIVH, DOCKET CONTINUATION SHEET

PLAINTIFF | DEFENDANT
: pocket No. MDL 840 —

|
IN RE: ESTATE OF FERDINAND EF. MARCOS | HUMAN RIGHTS LITIGATION
PAGE 85 0r PAGES

DATE NR. PROCEEDINGS

i999
Mar 29 1375 | PROOF of Claim Form for Torture Victims by Pepito Anden Garcia
1376 PROOF of Claim Form for Torture Victims by Zoho A. Borja, Sr.
1377 | PROOF of Claim Form for Torture Victims by Joaquin M. Rivera
1378 | PROOF of Claim Form for Torture Victims by Jose Elegano Doloroso
1379 | PROOF of Claim Form for Torture Victims by Wilfredo T. Suarez
1380 | PROOF of Claim Form for Torture Victims by Manuel E. Inocencio
1381 | PROOF of Claim Form for Torture Victims by Romeo S. Lacandola
1382 | PROOF of Claim Form for Torture Victims by Alfredo S$. Custodio
1383 | PROOF of Claim Form for Torture Victims by Flora P. Inocencio
1384 | PROOF of Claim Form fer Torture Victims by Nestor 0. Anievas
1385 | PROOF of Claim Form for Torture Victims by Anacleto C. Ocampo
1386 | PROOF of Claim Form for Torture Victims by Serapio S. Bartolome
1387 | PROOF of Claim Form for Torture Victims by Nicholas 4. Sanchez
1388 | PROOF of Claim Form for Torture Victims by Cecilio A. Bejer
1389 | PROOF of Claim Form for Torture Victims by Rogelio Salarda, Deceased by Alma s.
Salarda
1390 | PROOF of Claim Form for Torture Victims by Mario D. Bunda
1391 | PROOF of Claim Form for Torture Victims by Anecita 0. Pintado
1392 | PROOF of Claim Form for Torture Victims by Victorio Asne
1393 | PROOF of Claim Form for Torture Victims by Romulo P. Manuel
1394 | PROOF of Claim Form for Torture Victims by Norma VarquezRuferos
1395 | PROOF of Claim Form for Torture Victims by Rodolfo L. Redona
1396 | PROOF of Claim Form for Torture Victims by Felix H. Nicolas
1397 | PROOF of Claim Form for Torture Victims by Banjamin E. Fdquila
| 1398) PROOF of Claim Form for Torture Victims by Gavine M. Libao
1399 | PROOF of Claim Form for Torture Victims by Danilo A. Olavere
| 1400) PROOF of Claim Form for Torture Victims by Vicente L. Pajardo, Deceased by Alfons
Fajardo
1401 | PROOF of Claim Form for Torture Victims by Anecito A, Galleposo
1402 / PROOF of Claim Porm for Torture Victims by Getzilo Revamonte
1403 | PROOF of Claim Form for Torture Victims by Jerry A. Mercader
1404 PROOF of Claim Form for Torture Victims by Agustin Pentado
1405 | PROOF of Claim Porm for Torture Victims by Daniel L. Imperial
1406 | PROOF of Claim Form for Torture Victims by Andres P. Ricamra
1407 | PROOF of Claim Form for Torture Victims by Ruben M. Aycocho
1408 | PROOF of Claim Form for Torture Victims by Danile P. Vizmanos
1409 | PROOF of Claim Form for Torture Victims by Clemente Cadelena Espinoza
1410) PROOF of Claim Form for Torture Victims by Jesus Lim
1411 PROOF of Claim Porm for Torture Victims by Carlito M. Aycocho
1412 PROOF of Claim Form for Torture Victims by Elpidio I. Patio
1413; PROOF of Claim Form for Torture Victims by Felipe Juan J. Imperial
1414 | PROOF of Claim Form for Torture Victims by Cecilio Cloa
1415 | PROOF of Claim Form for Torture Victims by Jose B, Imperial
1416 | PROOF of Claim Form for Torture Victims by Heracles G. Abayon
1417) PROOF of Claim Form for Torture Victims by Antonio P. Cordero
1418/| PROOF of Claim Form for Torture Victims by Erline Adaro Abayon
| 1419) PROOF of Claim Form for ‘Torture Victims by Pedro 8. Escosia, Jr.
| 1420) PROOF of ‘Claim Form for Torture Victims by Marcelino Lagman
/ £421) PROOF of Claim Form for Torture Victims by Jose D. Borja
| 1422) PROOF of Claim Form for Torture Victims by Supriano L. Bondoc
1423 | PROOF of Claim Form for Torture Victims by Renato -. Amahan

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CIVIL DOCKET CONTINUATION SHEET

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PLAINTIFF

[N RE: ESTATE

OF FERDINAND E, MARCOS iHUMAN RIGHTS LITIGATION
|

DEFENDANT

DOcKET No, MDL 849

PAGE 860r PAGES

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DATE NR. PROCEEDINGS
1999
Mar 29 1424 | PROOF of Claim Form for Torture Victims by Fortunato Pedoy

1425 . PROOF of Claim Form for Torture Victims by Jose P. Hernandez

1426 | PROOF of Claim Form for Torture Victims by Edgardo Manguilimutan

1427 | PROOF of Claim Farm for Disappearance Victims by Tito Abantao, Sr.

1428 | PROOF of Claim Form for Disappearance Victims by Editho Gabiana Bersula and
Canlapivas Catbalogan Samar by Lourdes Bersula Dacles

1429 | PROOF of Claim Form for Disappearance Victims by Romulo Rosales by Clarita R.
Machiran

1430 | PROOF of Claim Form for Disappearance Victims by Victoria Leguin by Silvestre
Leguin

1431 | PROOF of Claim Form for Disappearance Victims by Arpiano L. Ladeza by Ceferino A.
Ladeza

1432 | PROOF of Claim Form for Disappearance Victims by Riza 0. Buza

1433 | PROOF of Claim Form for Disappearance Victims by Narciseco M. Mallari by Eufracina
M. Santos

1434 | PROOF of Claim Form fer Disappearance Victims by Lucia Fabillar Penaranda

1435 | PROOF of Claim Form for Disappearance Victims by Lamberto G. Guinto by Luzviminda
R. Guinto

‘1436 | PROOF of Claim Form for Disappearance Victims by Roman Ayo Echano by Edith 0. Echa

1437 | PROOF of Claim Form for Disappearance Victims by Dionisio Salas by Narding C. Salas

1438 | PROOF of Claim Form for Disappearance Victims by Alijandra Sosing

1439 | PROOF of Claim Form for Disappearance Victims by Gregoria Dimailig

1440 | PROOF of Claim Form for Disappearance Victims by Maria Docdoc

1441 | PROOF of Claim Form for Disappearance Victims by Rogelio Bacsal by Rosario A. Bacda!

1442 | PROOF of Claim Form for Disappearance Victims by Angela B. Oueno

1443 | PROOF of Claim Form for Disappearance Victims by Ciriaco Gabijan by Lucresia G.
Gabi jan

1444 | PROOF of Claim Form for Disappearance Victims by Josephine 0. Ybanez

1445 | PROOF of Claim Form for Disappearance Victims by Melodina V. Quino

1446 | PROOF of Claim Form for Disappearance Victims by Noel Pomarejos

1447 | PROOF of Claim Form for Disappearance Victims by Florentina Ebin

1448 | PROOF of Claim Form for Disappearance Victims by Andres Jaromay

1449 | PROOF of Claim Form for Disappearance Victims by Kadil Dimampao by Guinandang L.
Bansilan

1450 | PROOF of Claim Form for Disappearance Victims by Teng Sulaiman by Hadja Sapia K.
Masukat

1451 {PROOF of Claim Form for Disappearance Victims by Tasil Masukat by Hadja Sapia kK.
Masukat

1452 | PROOF of Claim Form for Disappearance Victims by Dalia Marcaban

1453 | PROOF of Claim Form for Disappearance Victims by Roger A. Oblino by Estrella a.
Oblino

1454 | PROOF of Claim Form for Disappearance Victims by Felix Tongco, Concordia Tongco,
Arnold Rodulfo Tongco by Allan Tongeo

1455 | PROOF of Claim Form for Disappearance Victims by Felmalin M. Pino-on

1456 | PROOF of Claim Form for Disappearance Victims by Macabangen Lumenda by Ishak
Macabangen

1457 | PROOF of Claim Form for Disappearance Victims by Immanuel M. Obispo

1458 | PROOF of Claim Form for Disappearance Victims by Bernardino V. impreso by Susana
P. Impreso

1459 | PROOF of Claim Form for Disappearance Victims by Maitum Guiampaca by Ambai
Hadu Mohammad

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF GEFENDANT !
| DOCKET NO.MDE_840
IN RE: ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION ! pace 87 oF races
DATE NR, PROCEEDINGS
1999
Mar 29 1460 | PROOF of Claim Form for Disappearance Victims by Mamot Guiampaca by Ambai Hadu
Mohammad
1461 | PROOF of Claim Form for Disappearance Victims by Sally Guiampaca by Ambai Hadu
Mohammad
1462 | PROOF of Claim Form for Disappearance Victims by Baiputi Guiampaca by Ambai Hadu
Mohammad
1463 | PROOF of Claim Form for Disappearance Victims by Juan Napoles by Candilaria Napole
1464 | PROOF of Claim Form for Disappearance Victims by Victor Danday Reyes by Anastacia
Reyes
1465 PROOF of Claim Form for Disappearance Victims by Eduardo C. Ballesta by Remedios
G. Ballesta
1466 | PROOF of Claim Form for Disappearance Victims by Isidro Gabiana by Lucresia G.
Gabi jan
1467 | PROOF of Claim Form for Disappearance Victims by Efapanio Ebias by Rosita L. Ebias
1468 | PROOF of Claim Form for Disappearance Victims by Alexander Dimarlig
1469 | PROOF of Claim Form for Disappearance Victims by Ruben Nicolas Maningas by Corazot
Maningas Hilario
1470 | PROOF of Claim Form for Disappearance Victims by Juanito F. Abalos by Segundina
F. Abalos
1471 | PROOF of Claim Form for Disappearance Victims by Francisco §. Portem by Lourdes
S. Portem
1472 | PROOF of Claim Form for Disappearance Victims by Angeles Haromay Salvador
1473 | PROOF of Claim Form for Disappearance Victims by Fe Uy Lagbas
1474 | PROOF of Claim Form for Summary Execution Victims by Jesus Camacho by Gloria M.
Camacho . :
1475 | PROOF of Claim Form for Summary Execution Victims by Juliadar Diaz by Roberto Diaz
1476 | PROOF of Claim Form for Summary Execution Victims by Irene Mallari by Cherry Lynni
M. Pineza i
1477 | PROOF of Claim Form for Summary Execution Victims by Isaac C. de Guzman by Edith
M. de Guzman
1478 | PROOF of Claim Form for Summary Execution Victims by Eduardo §. Castro by Jovita
Castro
1479 | PROOF ef Claim Form for Summary Execution Victims by Alejandro Cabalinga Tidula
Arnel Tidula
1480 | PROOF of Claim Form for Summary Execution Victims by Rolando Lipic by Marites Lip
Clavecillas
1481 | PROOF of Claim Form for Summary Execution Victims by Rolando V. Valera by Pely v.
Valera
1482 | PROOF of Claim Form for Summary Execution Victims by Benedicto Carullo by Paolo
Carulloe
1483 | PROOF of Claim Form for Summary Execution Victims by Luzvimindo M. Buscayno by
Rosalina T. Javier
1484 | PROOF of Claim Form for Summary Execution Victims by Jesus M. Rivera by Regina §.
Rivera
1485 | PROOF of Claim Form for Summary Execution Victims by Floro T. Rivera by Esther
S. Rivera
1486 | PROOF of Claim Form for Summary Execution Victims by Reynaldo M. Rivera by
Benigna M. Rivera
1487 | PROOP of Claim Form for Summary Execution Victims by Marcianco Jacinta by Edelite
Jacinte
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF CEFENOANT

OF FERDINAND E. MARCOS

'HUMAN RIGHTS LITIGATION

| DOCKET No. MDL 840 _
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IN RE: ESTATE i
; Pace 88 of paces
DATE NRL, PROCEEDINGS
1999 |
Mar 29 1488 | PROOF of Claim Form for Summary Execution Victims by Franklyn Fernandez by Gelyn
FP. Lingaya
1489 | PROOF of Claim Form for Summary Execution Victims by Joselite B. Barnes by
| Elenita 8. Barnes
1490 | PROOF of Claim Form for Summary Execution Victims by Guilermo Castor by Rosita
Jimenez
1491 PROOF of Claim Form for Torture,Summary Execution and Disappearance Victims by
Agnes Araneta Evidente
1492 | PROOF of Claim Form for Torture,Summary Execution and Disappearance Victims by
Orlande Evidente
1493 | PROOF of Claim Form for Torture,Summary Execution and Disappearance Victims by
Romule B. del Prado
1494 | PROOF of Claim Form for Torture,Summary Execution and Disappearance Victims by
Hermenegildo Garcia III by Hanneli David
1495 | PROOF of Claim Form for Torture,Summary Execution and Disappearance Victims by
Emmanuel S. De Leon by Fernand S. De Leon
1496 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Johnny F, Jimenez
1497 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Carlos De Luna
1498 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Catalina P. Perlas
1499 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Anselma R. Lovenario
1500 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Bernabe P, Ricamara
1501 ; PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Hermino 0, Ramento
1502 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Saturnino 0. Ramento
| 1503 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Jimmy 0. Omaseng
1504 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Leonardo P. Ramento
1505 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Teofila FP. Ramento
1506 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Jose 0. Ramento
1507 | PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims by
Catalino Ramento vt
1508 | Statement by Leonardo N. Javier
1509 | Statement by Ernesto B. Boadilia
i510 | Statement by Imeida P. Arceo
i511 | Statement by Calicana BD. Evaristo
|1512 | Statement by Isidro B. Belgica
1513 | Statement by Romeo §. Calderon
| 1514 | Statement by Jose L. Rodicol
1515 | Statement by Norberio A. Murillo
1516 | Statement by Colita G. Campisano
(1517 | Statement by Jaime Agluba
,; 1518 | Statement by Emerlinda G. Manalo
by Dalon Renato

' Statement

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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF REFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION
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BOcKET No. MDL 840

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Statement

DATE NR. PROCEEDINGS
1999

Mar 29 1520 | Statement by Erlinda Dp. Villegas
1521 | Statement by Purificacion C. Samulde
1522 | Statement by Roberto Oblino
1523 | Statement by Maximiliano M. de Mesa
1524 | Statement by Bernardina S. Decang
1525 | Statement by Oliver Teves
1526 | Statement by Fructose A. Lucban
1527 | Statement by Banjamin Cruz Carlos
1528.| Statement by Prisco Cela Lobrio
i529 | Statement by Wilfredo Pp. Domingo
1530 | Statement by Manolo M. Refuela
1531 | Statement by Juana Agub
1532 | Statement by Estrelita Rambac
1533 | Statement by Cresencio Deocareza
1534 | Statement by Pelicisimo Decierdo
1535 | Statement by Aledia Anding
i536 | Statement by Bonifacio Teves
1537 | Statement by Francisco Alumbre
1538 | Statement by Natividad Santander
1539 | Statement by Josefa Raging
1540 | Statement by Melchor Malineg
1541) | Statement by Prudencio Unsing
1542 | Statement by Constancio Doller
1543 | Statement by Leopoldo Ansad
1544 | Statement by Dionisia Arsadon
1545 | Statement by Pedro Umbay
1546 | Statement by William Anding
1547 | Statement by Isabelo Abrica
1548 | Statement by Rosalinda Cabilo Cuadra
1549 | Statement by Permin Velasquez
1556 | Statement by Florencio Cuadra
1551 | Statement by Pelipe Tulabing
I552 | Statement by Marcelina Sanig Unsing
1553 | Statement by Nestor Sumabong
i554 | Statement by Arsenio Casipong
1555 ; Statement by Romeo Lantang
1556 | Statement by Jimmy Dingal
1557 | Statement by Heracleo beciardo
1558 | Statement by Alberto Catubig
1559 | Statement by Olimpic Ebao
L560 | Statement by Roberto Cabatbat
1561 | Statement by Prudencio Magsayo
1862 | Statement by Evaristo Badiles
1563 | Statement by Rosito Tadoc
1564 | Statement by Julito Gonom
1565 | Statement by Valeriana Cinda
L566 | Statement by Ludista Equia
1567 | Statement by Virgilio Equia
i568 | Statement by Rene Jarmin
1569 | Statement by Rodolfo Oville
1570 by Antonio Baran

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF , GEFENDANT i
: | DOCKET NO. MDL 840 __
IN RE: ESTATE OF FERDINAND HE. MARCOS § HUMAN RIGHTS LITIGATION :
: PAGE 90 _oFr PAGES
DATE NR. | PROCEEDINGS
1999

Mar 29 1571 | Statement by Esteban Vergara
1572 | PROOF of Claim Form for Torture Victims by Sulpilio Ducusin
1573 | PROOF of Claim Porm for Torture Victims by Ricardo Bajao Jr.
1574 PROOF of Claim Form for Torture Victims by Geronimo M. Tongco
i575 | PROOF of Claim Form by Feliciano B. Versoza

1576 | PROOF of Claim Form by Corazon A. Monte

i577 | OBJECTIONS to the Provisional Agreement of Compromise and Settlement by Aurora A.
Parong ~ [Cv 86+390, 86-330, 86-207]

1578 | OBJECTIONS to the Provisional Agreement of Compromise and Settlement by Mariani
Dimaranan - [Cv 86-390, 86-330, 86-207]

30,1579 | PROOF OF Claim for Torture Victims - by Estrellita M. Ernd
1580 | PROOF Of Claim for Torture Victims - by Adriano Lorenzo

1581 | PROOF Of Claim for Torture Victims “- by Claro P. Burgos

1582 PROOF Of Claim for Torture Victims - by Victor L. Malana
1583 | PROOF Of Claim for T&8rture Victims ~ by Mariano Aglangao

, 1584 | PROOF Of Claim for Torture Victims - by Cesar T. Castro

/1585 | PROOF o£ Claim for Torture Victims - by Ricardo F. Lardizabal Jr.
| 1586 PROOF Of Claim for Torture Victims - by Selvestre Bantilan T.
1587 PROOF Of Claim for Torture Victims - by Modesto R. Arcasitas
1588 | PROOF Of Claim for Torture Victims - by Rodel E. Briones

1589 | PROOF Of Claim for Torture Victims - by Romeo Burns Lovely
1590 | PROOF Of Claim for Yotture Victims ~ by Felix P. Lao

1591 | PROOF Of Claim for Torture Victims - by Fayala Ananiag F.
1592 | PROOF Of Claim for Torture"Viftims - by Santos B. Tallo Jr.
1593 | PROOF Of Claim for Torture Victims ~ by Marciano B. Bonon
1594 | PROOF Of Claim for Torture Victims - by Wilfredo Rayala R.
1595 | PROOF Of Claim for Torture Victims - by Serafia G. Tiglao
1596 | PROOF Of Claim for Torture Victims - by Hedy dela Cuista

1597 | PROOF O£ Claim for Torture Victims - by Roberto B, Sunca

i598 | PROOF Of Claim for Torture Victims - by Victor L. Malana

1599 | PROOF Of Claim for Torture Victims - by Lucia M. Baecalso

1600 PROOF Of Claim for Torture Victims - by Antonio M. Alberto

| 1601 | PROOF OF Claim for Torture Victims - by Bing Rendo

1662 PROOF Of Claim for Torture Victims ~ by Sandigo Jaime

1603 | PROOF Of Claim for Torture Victims - by Willie Sdndigo

1604 | PROOF Of Claim for Torture Victims - by Chito Ugal

| 1605 | PROOF Of Claim for Torture Victims - by Eduardo Castor

1606 | PROOF Of Claim for Torture Victims - by Nemencio Tiglao

1607 | PROOF Of Claim for Torture Victims - by Oscar Tolentino

1608 | PROOF Of Claim for Torture Victims + by Ceriaco Pico Aspirin
1609 | PROOF O£ Claim for Torture Victims - by Artemio Tiglao

1610 | PROOF Of Claim for Torture Victims - by Orlando Castro

1611 | PROOF Of Claim for Torture Victims - by Dominador B. Samadiego Jr.
1612 | PROOF Of Claim for Torture Victims - by Rogelio A. Alvarez

| 1613 | PROOF Of Claim for Torture Victims - by Bendicto M. Sandingay
1614 | PROOF Of Claim for Torture Victims - by Angel B. Carlos

1615 | PROOF Of Claim for Torture Victims - by Rogelio P. Seguido
1616 | PROOF Of Claim for Torture Victims - by Elizabeth B. Dumanon
1617 | PROOF Of Claim for Torture Victims - by Apolinario Ba&caro
1618 | PROOF Of Claim for Torture Victims - by Romeo J. Enriquéz
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT T

IN RE: ESTATE

OF FERDINAND E. MARCOS | HOMAN RIGHTS LITIGATION

| OOCKET No. MDL 840

| PAGE 91 oF paces
DATE NR, PROCEEDINGS

1999

Mar 30 1619 PROOF Of Claim for Torture Victima - by Erlinda T. Lozano
1620 [PROOF Of Claim for Torture Victims - by Paquito Lozano
1621 PROOF Of Claim for Torture Victims - by Fortunato Castro
1622 PROOF Of Claim for Torture Victims - by Fernando C. Bagaslao
1623 PROOF Of Claim for Torture Victims - by Douglas V. Dumanon
1624 PROOF Of Claim for Torture Victims ~ by Nicolas B. Sangic, Jr.
1625 (PROOF Of Claim for Torture Victims - by Ramiro R. Ramirez
1626 PROOF Of Claim for Torture Victims - by Ramirez Gracatd R.
1627 |PROOF Of Claim for Torture Victims - by Fe T. Carreon
1628 PROOF Of Claim for Torture Victims ~ by Leonardo Razonable
1629 PROOF Of Claim for Torture Victims - by Celso L. Lozada
1630 PROOF Of Claim for Torture Victims - by Allan C. Bautista
1631 PROOF Of Claim for Torture Victims - by Roemo T. Petugo Sr.
1632 [PROOF Of Claim for Torture Victims - by Redolfo Lancheta
1633 PROOF Of Claim for Torture Victime - by Antonio Tujan Jr.
1634 [PROOF Of Claim for Torture Victims - by Rozalino B. Brusola
1635 [PROOF Of Claim for Torture Victims - by Jose FP. Penaflor
1636 PROOF Of Claim for Torture Victims - by Lazaro Viray
1637 |PROOF Of Claim for Torture Victims - by Milagros Ragos Espinas
1638 PROOF Of Claim for Torture Victims - by Mario Dela Cuesta
1639 (PROOF Of Claim forTortur@ Victims - by Raul C. Mendoza
1640 PROOF Of Claim for Torture Victims - by Artemio G. Tiglao
1641 PROOF Of Claim for Torture Victims - by Renato G. Carno
1642 |PROOF Of Claim for Torture Victims - by Joe Marie D. Managbanag
1643 PROOF Of Claim for Torture Victims - by Bernardino C. Cajets
1644 PROOF Of Claim for Torture Victims - by Marite Q. Bulfa
1645 (PROOF Of Claim for Torture Victims - by Juan B. Saranza
1646 BTATEMENT BY Bula Porferio
1647 (PROOF Of Claim for Torture Victims - by Veronica Fronda Razon
1648 |PROOF Gf Claim for Torture Victims - by Nestor BD. Anievas
1649 [PROOF Of Claim for Torture Victims - by Daniel Lachica
1650 (PROOF Of Claim for Torture Victims - by Rogelio P. Magtibay
1651 (PROOF Of Claim for Torture Victims - by Leonardo S. Umali
1652 PROOF Of Claim for Torture Victims - by Fernando M. Lloren
1653 (PROOF Of Claim for Torture Victims - by Romeo Gonzales
1654 (PROOF Of Claim for Disappearance Victims - by Herbert P. Cayunda
1655 |PROOF Of Claim for Disappearance Victims - by Milo Palag Paculanang
1656 |PROOF Of Claim for Disappearance Victims - by Nilo Obina
1657 |PROOF Of Claim for Disappearance Victims - by Artimio L. Bulitin
1658 ‘PROOF Of Claim for Disappearance Victims - by Domingo C. Oblino
1659 |PROOF Of Claim for Disappearance Victims - by Oscar R. Abella
1660 (PROOF Of Claim for Disappearance Victims - by Pablo P. Galo
1661 PROOF Of Claim for Disappearance Victims - by Carlito R. Candido
1662 |PROOF Of Claim for Disappearance Victims - by Enmanuel Racaza CAtong
1663 |PROOF Of Claim for Disappearance Victims ~ by Fernando C. Magno and Leopoldo G.

Magno
1664 |PROOF Of Claim for Disappearance Victims - by Gonigunda L. Oblino
1665 PROOF Of Claim for Disappearance Victims - by Pablo Castro
1666 (PROOF Of Claim for Disappearance Victims - by Delfin C. Demandante
1667 [PROOF Of Claim for Disappearance Victims - by Julieto N. Mahinay Sr.
1668 PROOF Of Claim for Disappearance Victims - by George P. Manog
See Pace 6°

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF OEFENDANT
: | Docket no. _MDL 840
IN RE: ESTATE OF FERDINAND E. wancds HUMAN RIGHTS LITIGATION | PAGE 22 0F____paces
DATE | NR. PROCEEDINGS
1999
Mar 30/1669 |PROOF Of Claim for Disappearance Victims - by Juan Espinoa Jr. 7
1670 PROOF Of Claim for Disappearance Victims - by Dominador $. Tuale
1671 |PROOF Of Claim for Disappearance Victims - by Ramir Nablo
1672 |PROOF Of Claim for Disappearance Victims ~ by Manuel M, Maniquez
1673 |PROOF Of Claim for Disappearance Victims - by Mariano M, Lopez
1674 |PROOF Of Claim for Disappearance Victims - by Porperio Gravador
1675 /PROOF Of Claim for Disappearance Victims - by BenitoMade ja
1676 |PROOF Of Claim for Disappearance Victims - by Juanito U. Pielago
1677 | PROOF Of Claim for Disappearance Victims - by Conchita Simbahan
1678 |PROOF Of Claim for Summary Execution Victims ~- by Eronio U. Arnaiz
1679 |PROOF Of Claim for Summary Execution Victims - by Romulo Bulanadi
1680 |PROOF Of Claim for Summary Execution Victims - by Gregorio B. Espinas, Jr.
1681 |PROOF Of Claim for Torture, Summary Execution and Disappearance Victims -
by Delfin P. Dandau
1682 |PROOF Of Claim for Torture, Summary Execution and Disappearance Victims -
by Delfin P. Dandau
1683 | STATEMENT - Sy Hermilinda Tamparong
1684 | STATEMENT - by Crisanto Dian
: -1685 | STATEMENT ~ by Elpedio Labao
| 1686 | STATEMENT - by Albina Rodriguez
1687 | STATEMENT - by Sucita Barnido
1688 | STATEMENT - by Roger Aronda
1689 | STATEMENT ~- by Eugene Canoy
1690 | STATEMENT - by Apolinario Moratalla
1691 | STATEMENT - by Neri Javier Colmenares
1692 | PROOF of Claim Form for Torture Victims - by Florante D. Villegas
1693 | PROOF OF Claim Form for Torture Victims - by Jose M. Villegas
1694 | STATEMENT ~ by Lope Uriarte
1695 | STATEMENT - by Enrico Capulas
1696 | STATEMENT ~- by Luz Jandoc
1697 | STATEMENT - by Rosario C. Salvador~Palma
1698 | STATEMENT - by Pedro Canday
1699 | MEMBERSHIP Form - by Mauro Torejas Sr.
1700 | STATEMENT - by Nicolas 3, Sangic, VR
1701 | PROOF OF Claim Form for Torture Victims - by Elena A. Oquendo OTE
1702 | STATEMENT - by Anselma Catayong wife of claimant
1703 | OBJECTIONS TO THE Provisional Compromise Agreement - by Nymia Pimentel Simbulan
1704 | Application For Order to Show Cause - set for 3/29/99 - in Los Angeles -
by Deft ~ Civ. 86-390, 86-330
1705 |Order to Show Cause - Plaintiff to appear on Los Angeles on 4/15/99 @ 10:00 a.m.
~ by Defendant
1706 | Notice of Motion and Motion to Strike Request to Rewrite Settlement Agreement -
set for 3/29/99 in Los Angeles - by Deft CV 86-390, 86-330
1707 | Memorandum of Points and Authorities in Support of Motion to Strike, Request
. to Rewrite Settlement Agreement - by Deft - CV 386-390, 86-330
1708 | Declaration of John J. Bartko in Support of Motion to Strike section IV of
the Plaintiff Class' Memorandum in Support of Motion for Final Approval of
Settlement - by Deft - Civ. 86-390, 86-330
1709|Notice of Intent tro Appear and Objections Filed by Certain Class Members to the
BeoRe ged Settlement: Declarations of Carol Sobel, Fidel V. Ageaoili -
y Fidel Ageaoili, Juliere de Lima Sison and Reverend Cesar Taguba
Giv 95-16145"

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
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IN RE: ESTATE OF FERDINAND E. MARCOS © HUMAN RIGHTS LITIGATION | PAGE _930F____ PAGES
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DATE |) NR. PROCEEDINGS
1999
Mar 30/1710 | Sison/Piopongco Plaintiffs Memorandum (Objections) re Proposed Class Settlement
and Notice of Intent to Appear at Fairness Hearing - cv 96-225, 87-138
1711 Notice of Objections to Proposed Setltmenet and Notice of Intent to Appear -
by Fidel Agcaoili, Juliete de Lima Sison and Reverend Cesar Taguba - CV 95~16145
1712 |Memorandum of Law of Class Counsel in Opposition to the Motions of Direct Action
Counsel for Attorneys' Fees ahd Reimbursement of EXpenses - Civ. 86-390
86-330
'1713 Declaration of Sherry P. Broder in Support of Class Counsel's Motion for Final
| Approval of the Settlement Agreement; Exhibits N-V,X & Y; Certificate of
Service - by Pitfs
31) 1714 Objection to the Provisional Compromise Agreement by Estrella C. Salvana -
CV 86-330, 86-207
‘1715 Objection to the Provisional Compromise Agreement by Jose Alumno Salvana -
Civ 86-330, 86-207
1716 (Objection to the Provisional Compromise Agreement by Nathaniel B. Krnejo -
Civ 86-330, 86-207
1717 | Objection to the Provisional Compromise Agreement by Virginia B. Arnejo -
Civ 86-330, 86-207
1718 |Objection to the Provisional Compromise Agreement - by Berlito Abenoja - |
Civ 86-330, 86-207 oe
1719 Objection to the Provisional Compromise Agreement - by Yulo Frecodl. Magsalay Jr.
| Civ 86-330, 86-207
(1720 | Objection to the Provisional Compromise Agreement by Pascuala Cane A. -
Civ 86-330, 86-207
:1721 |Qbjeerion to the Provisional Compromise Agreement by Estelita B. Miras -
Civ 86-330, 86+207
1722 (Objection to the Provisional Compromise Agreement by Elogie A. Cane -
Civ 86-330, 86~207
1723 |Objection to the Provisional Compromise Agreement by Rodolfo A. Barredo -
Civ 86-330, 86-207
1724 |Objection to the Provisional Compromise Agreement by Marina B. Ceniza -
Civ 86-330, 86-207
1725 Objection to the Previsional Compromise Agreement ~ by Marina B. Ceniza ~
Civ 86-330, 86-207
1726 (Objection to the Provisional Compromise Agreement by Pedro F. Samson -
Civ 86-330, 86-207
[1727 |Objeetion to the Provisional Compromise Agreement by FElino M. Petilla -
Civ 86-330, 86-207
1728 (Objection to the Provisional Compromise Agreement by Cerila Melinda -
Giv 86-330, 86-207
1729 (Objection to the Provisional Compromise Agreement ~ by Rufina Rabos -
Giv 86-330, 86-207
1730 (Objection to the Provisional Compromise Agreement by Gustaquio Torreon -
Civ 86-330, 86-207 ,
1731 Objection to the Provisional Compromise Agreement by Juanito Caliquez -
Civ 86-330, 86-207

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CIVIL DOCKET CONTINUATION SHEET.
PLAINTIFF | ORF ENDANT
- | | DOCKET NOMDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION | PAGE 24 0F____Paces
DATE NR. | PROCEEDINGS
1999
Mar 31/1732 (Objection to the Provisional Compromise Agreement ~- by Sofronio Ando -
Civ 86-330, 86-207
1733 Objection to the Provisional Compromise Agreement - by Remedios Tordillo -
Civ 86-330, 86-207
1734 |Objection to the Provisional Compromise Agreement ~ by Carlito C. Caminade -
Civ 86-330, 86-207
1735 Objection to the Provisional Compromise Agreement by Aquilina T. Esperon -
Civ 86-330, 86-207
1736 [Objection to the Provisional Compromise Agreement - by Fédencia C. Montemor -
Civ 86-330, 86-207
1737 [Objection to the Provisional Compromise Agreement - by Félicisma 0. Lapot -
Civ 86-330, 86-207
1738 [Objection to the Provisional Compromise Agreement by Adelaida M. Tangpos -
Civ 86-330, 86-207
1739 (Objection to the Provisional Compromise Agreement - by Federico Bansag -
Civ 86-390, 86-330, 86-207
1740 (Objection to the Provisional Compromise Agreement by Romeo T. Petugo -
Civ 46-390, 86-330, 86-207
1741 (Objection to the Provisional Compromise Agreement by Marilou M. Petugo -
Civ 86~390, 86-330, 86-207
1742 Objection to the Provisional Compromise Agreement - by Faustina P. Dumandan -
Civ 86-390, 86-330, 86-207
1743 /Objection to the Provisional Compromise Agreement - by Josefina Bumalan -
Civ 86-390, 86-330
1744 |Objection to the Provisional Compromise Agreement by Pofinia Quezundo -
Civ 86-390, 86+330
1745 |Objection to the Provisional Compromise Agreement - by Zosima B. Canon -
Civ 86-390, 86-330, 86-207
1746 (Objection to the Provisional Compromise Agreement by Bonifacio 0. Oledo -
Civ 86-390, 86-330, 86~+207
1747 (Objection to the Provisional Compromise Agreement by Margarita R. Apas -
Civ 86-390, 86-330, 86-207 .
1748 [Objection to the Provisional Compromise Agreement by Celestimo Cagroma -
Civ 86-390, 86-330, 86-207
1749 (PROOF of Claim Form for Torture Victims by Philipp Jude K. Birondo
1750 |PROOF of Claim Form for Torture Victims by Jesus Lim
1751 |PROOF of Claim Form for Torture Victims by Francisco V. Echipare
1752 |PROOF of Claim Form for Torture Victims by Roberto Yoingco de Leon
1753 |PROOF of Claim Form for Torture Victims by Ronaldo B. del Prado
1754 (PROOF of Claim Form for Torture Victims by Danilo P. Vizmanos
1755 |PROOF of Claim Form for Torture Victims by Rene Z. Aguirre
1756 PROOF of Claim Form for Torture Victims by Dante L. Vitug Jr.
1757 |PROOF of Claim Form for Torture Victims by Berne T. Cabaloc
1758 |PROOF of Claim Form for Torture Victims by BenjamenTerrazala, Jr., Deceased by
Socorro T. Isidro
1759 iThe Plaintiff Class' Memorandum In Opposition to Defendants' Motion to Strike A +
Portion of the Class' Motion For Final Approval of Settlement ~-
Civ 86-390, 94-330
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CIVIL, DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE: ESTATE OF FERDINAND E. MARCOS

OEFENDANT

HUMAN RIGHTS LITIGATION

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DATE (| NR.

PROCEEDINGS

1999 vse
Apr 1 | 1760 | PROOF of Claim Form for Torture Victims by Manuel Bulaon, Deceased by Leonila’B.
Munoz
1761 PROOF of Claim Form for Torture Victims by Manuel F. Deaz
1762 | PROOF of Claim Form for Torture Victims by Roberto Blanco Planas
1763 | PROOF of Claim Form for Torture Victims by Salvador M. Buan
1764 PROOF of Claim Form for Torture Victims by Orlando P. Flores
| 1765 | PROOF of Claim Form for Torture Victims by Lucero L. Lagmay
1766 PROOF of Claim Form for Torture Victims by Remedios H. Oria by Esteban U. Oria, Jt
1767 PROOF of Claim Form for Torture Victims hy Dominador Rivera, Deceased by Segunding
Rivera
.1768 | PROOF of Claim Form for Torture Victims by Gaudencio A. Sarangaya, III
1769 | PROOF of Claim Form for Torture Victims by Faustino D. Lising
|1770 | PROOF of Claim Form for Torture Victims by Esther A. Santos
1771 PROOF of Claim Form for Torture Victims by Eulalia J. Regencia
1772 PROOF of Claim Form for Torture Victims by Rafael E. Real
1773 | PROOF of Claim Form for Torture Victims by Rene Z. Aguirre
1774 | PROOF of Claim Form for Torture Victims by Lazaro P. Santos
1775 | PROOF of Claim Form for Torture Victims by Lilia Quindoza Santiago
1776 | PROOF of Claim Form for Torture Victims by Alfredo Navarro Slanga, Deceased by
Alicia Loyola Salanga
1777 | PROOF of Claim Form for Torture Victims by Melencio R. Cabaraban
1778 | PROOF of Claim Form for Torture Victims by Ariel B. Dumapias
1779 | PROOF of Claim Form for Torture Victims by Arturo 5. Auayang
; 1780 | PROOF of Claim Form for Torture Victims by Lilia Quindeza Santiago
/1781 | PROOF of Claim Form for Torture Victims by Stefani Creer Sano
|1782 | PROOF of Claim Form for Torture Victims by Abner Deza Cruz
1783 | PROOF of Claim Form for Torture Victims by Nympha Madla Sano
1784 | PROOF of Claim Form for Torture Victims by Avelina M. Pascuak-Lagmay
1785 | PROOF of Claim Form for Torture Victims by Andres Arcilla
1786 | PROOF of Claim Form for Torture Vict ins by Rosauro V. Dongallo Jr.
1787 | PROOF of Claim Form for Torture Victims by Mary Pilar Verdoza
|1788 | PROOF of Claim Form for Torture Victims by Alberto Angeles
' 1789 | PROOF of Claim Form for Torture Victims by Benigno H. Miranda
1790 | PROOF of Claim Form for Torture Victims by Patricio De la Cruz Gomez, Deceased by
| Jessie Gomez
1791 | PROOF of Claim Form for Torture Victims by Ernesto G. Feliciano
1792 | PROOF of Claim Form for Torture Victims by Carmelito David, Deceased by Perlita
Policarpio David
1793 | PROOF of Claim Form for Torture Victims by Macario B. Calma, Deceased by Napoleon
Calma
1794 | PROOF of Claim Form for Torture Victims by Avelino G. Salvador, Deceased by
Dominga B. Salvador
1795 PROOF of Claim Form for Torture Victims by Emiliano R. Mananquil Sr.
1796 | PROOF of Claim Form for Torture Victims by Ernesto Garcia
1797 | PROOF of Claim Form for Torture Victims by Carlito Manucduc
1798 PROOF of Claim Form for Torture Victims by Miguel G. Manta, Deceased by
Bienvenida Mania
1799 | PROOF of Claim Form for Torture Victims by Benvienido Cabrera, Deceased by
Marcelina Cabrera
/1800 PROOF of Claim Form for Torture Victims by Antonio M. Santos
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